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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

UNITED STATES OF AMERICA             )
                                     )
        v.                           )       No. 19 CR 864
                                     )
RISHI SHAH,                          )
SHRADHA AGARWAL, and                 )       Judge Thomas M. Durkin
BRAD PURDY                           )
                                     )

        JOINT STATUS REPORT REGARDING RESTITUTION

      The UNITED STATES OF AMERICA, by its attorneys, MORRIS

PASQUAL, Acting United States Attorney, and GLENN S. LEON, Chief of the

Fraud Section of the U.S. Department of Justice’s Criminal Division, defendant

RISHI SHAH, through his attorneys Richard Finneran and William Burck,

defendant SHRADHA AGARWAL, through her attorneys Patrick Blegen, John

Cline, and Koren Bell, and defendant BRAD PURDY, through his attorneys

Theodore Thomas Poulos and John Pavletic, respectfully submit the following

joint status report regarding restitution.

      The government notes that the Mandatory Victims Restitution Act

provides that the Court may make a final determination of restitution at a date

“not to exceed 90 days after sentencing.”        18 U.S.C. § 3664(d)(5).      The

government also points out that the United States Supreme Court has held,


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“The fact that a sentencing court misses the statute’s 90-day deadline, even

through its own fault or that of the Government, does not deprive the court of

the power to order restitution.” Dolan v. United States, 560 U.S. 605, 611

(2010); see also United States v. Robl, 8 F.4th 515 (7th Cir. 2021) (“The

Mandatory Victims Restitution Act imposes a deadline ‘to give victims timely

relief; it is not written to give defendants an absolute deadline, after which

they are freed from providing restitution to the individuals they have

harmed.’”) (quoting United States v. Bour, 804 F.3d 880, 888 (7th Cir. 2015)).

      The government anticipates calling at least one witness—likely

including an expert witness—to testify in support of the government’s position

on the appropriate amount of restitution owed to the victims in this case. The

government would submit a written outline of its position regarding restitution

no later than two weeks prior to the hearing. If the government calls an expert

witness to testify at the hearing, the government will also submit an expert

report to the defense and to the Court no later than two weeks prior to the

hearing.

      The government requires sufficient time for its expert to complete an

analysis and prepare for the hearing and—after accounting for dates on which

defense counsel are not available in September or the last week of August—



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requests a hearing on either September 3, 4, or 5, or, in the alternative, August

26, 27, or 28.

      Counsel for all defendants are available September 3 through 5 or

August 26 through 28 for a hearing. Counsel for Mr. Shah objects to the

length of the Government’s request for time to prepare for the hearing.

Counsel for Mr. Shah requests instead that the Court set a hearing on a date

within the first two weeks of August.

      The parties request a telephonic status hearing in the near future to

discuss setting the date for the evidentiary hearing.

      Finally, the parties have met and conferred regarding a possible

resolution of the restitution amount without the necessity of a hearing. While

they have determined that further discussion regarding potential stipulations

on restitution as to at least some of the victims might be productive in the

future, they are not able to reach agreement at this time.



                       [SIGNATURE PAGES FOLLOW]




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                                          Respectfully submitted,

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